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FILED
May 19, 2021 12:20 PM
UNITED STATES DISTRICT COURT SEEK OCeOUT
U.S. DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION BY: tb SCANNED BY:-T& S14] 2|
UNITED STATES OF AMERICA,
-_ 1:21-cr-103
Plaintiff, Robert J. Jonker
vs. U.S. District Judge
JESSICA MARIE DOWKER,
FELONY INFORMATION
Defendant.

/

The United States Attorney charges:

(Willful Failure to Pay Over Tax)

1. At all times relevant to this information, Northshore Dock, LLC (“Northshore”)
was a company doing business in Antrim County, Michigan. Northshore provided boat sales,
storage, transportation, and other marine services.

2. At all times relevant to this information, JESSICA MARIE DOWKER acted as
bookkeeper and financial manager for Northshore. In that capacity she exercised authority over
the company’s payroll, and was require to collect, account for and pay over taxes from its
employees’ paychecks, including federal income taxes, Medicare taxes, and Social Security taxes
(collectively referred to in this Information as “payroll taxes.”)

3h During the second quarter of the year 2018, ending June 30, 2018, JESSICA
MARIE DOWKER deducted and collected from the total taxable wages of Northshore’s
employees payroll taxes in the amount of $45,882.49.

4. On or about July 31, 2018, in the Western District of Michigan, Southern

Division, JESSICA MARIE DOWKER willfully failed to truthfully account for and pay over to
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the Internal Revenue Service the payroll taxes withheld and due and owing to the United States

of America for the quarter ending June 30, 2018.

26 U.S.C. § 7202

ANDREW BYERLY BIRGE
United States Attorney

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NILS R. KESSLER
Assistant United States Attorney
